   Case: 1:18-cr-00109-TSB Doc #: 145 Filed: 04/10/20 Page: 1 of 2 PAGEID #: 734




                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE              Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988            www.ca6.uscourts.gov




                                                 Filed: April 09, 2020




Mr. Richard W. Nagel
Southern District of Ohio at Cincinnati
100 E. Fifth Street
Suite 103 Potter Stewart U.S. Courthouse
Cincinnati, OH 45202-0000

                     Re: Case No. 19-4171, USA v. Andrey Shuklin
                         Originating Case No. : 1:18-cr-00109-1

Dear Clerk,

   Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely yours,

                                                 s/Maddison R Edelbrock
                                                 For Anthony Milton

cc: Ms. Megan Lynn Gaffney
    Ms. Stephanie Franxman Kessler
    Mr. Martin Stanley Pinales
    Mr. Matthew Singer

Enclosure
     Case: 1:18-cr-00109-TSB Doc #: 145 Filed: 04/10/20 Page: 2 of 2 PAGEID #: 735




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 19-4171
                                           ________________

                                                                      Filed: April 09, 2020

UNITED STATES OF AMERICA

                Plaintiff - Appellee

v.

ANDREY SHUKLIN

                Defendant - Appellant



                                            MANDATE

     Pursuant to the court's disposition that was filed 03/18/2020 the mandate for this case hereby

issues today.



COSTS: None
